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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                     Case Number 8:11CR258-002

                                                       USM Number 24368-047

ANTHONY HARLAN
                       Defendant
                                                       JULIE A. FRANK

                                                       Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                      (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to counts VI and VII of the Indictment on February 2, 2012.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                            Date Offense               Count
          Title, Section & Nature of Offense                 Concluded               Number(s)


 18:922(d) and 924(a)(2) SALE OF FIREARM TO                 June 16, 2011                 VI
 FELON

 21:841(a)(1) and 21:841(b)(1) and 18:2                     June 23, 2011                VII
 DISTRIBUTION OF CRACK COCAINE

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within fourteen (14) days of this
date pursuant to Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405 (Revised
DNA Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                     Date of Imposition of Sentence:
                                                                                        May 2, 2012

                                                                          s/ Lyle E. Strom
                                                                 Senior United States District Judge
                                                                                May 3, 2012
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                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of thirty-six (36) months on Count VI of the Indictment and thirty-six (36)
months on VII of the Indictment to be served concurrently; the defendant shall be give credit
for time served since November 9, 2011.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the defendant participate in the 500-hour Comprehensive Drug Treatment Program or
        any similar drug treatment program available.

The defendant is remanded to the custody of the United States Marshal.

                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                      __________________________________
                                                             UNITED STATES WARDEN

                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                    SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of three
(3) years on Count VI of the Indictment and three (3) years on Count VII of the Indictment to
run concurrently.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                         STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer in a manner and frequency directed by
        the court or probation officer.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
13.     As directed by the probation officer, the defendant shall notify third parties of risks that may
        be occasioned by the defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.
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                             SPECIAL CONDITIONS OF SUPERVISION


1.      The defendant shall cooperate in the collection of DNA as directed by the probation officer,
        pursuant to the Public Law 108-405 (Revised DNA Collection Requirements Under the
        Justice for All Act of 2004), if such sample was not collected during imprisonment.

2.      Pursuant to 18 U.S.C. § 3583 (d), the defendant shall submit to a drug test within fifteen
        (15) days of release on supervised release and at least two (2) periodic drug tests thereafter
        to determine whether the defendant is using a controlled substance. Further, the defendant
        shall submit to such testing as requested by any probation officer to detect the presence of
        alcohol or controlled substances in the defendant’s body fluids and to determine whether
        the defendant has used any of those substances. Based on the defendant’s ability to pay,
        the defendant shall pay for the collection of urine samples to be tested for the presence of
        alcohol and/or controlled substances in an amount to be determined by the probation
        officer.

3.      The defendant shall submit his or her person, residence, office, or vehicle to a search
        conducted by a United States Probation Officer at any time; failure to submit to a search
        may be grounds for revocation; the defendant shall warn any other residents that the
        premises may be subject to searches pursuant to this condition.

4.      Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely
        refraining from excessive use of alcohol, the defendant shall not purchase or possess, use,
        distribute, or administer any alcohol, just the same as any other narcotic or controlled
        substance.

5.      The defendant shall attend, pay for and successfully complete any diagnostic evaluations,
        treatment or counseling programs, or approved support groups (e.g., AA/NA) for alcohol
        and/or controlled substance abuse, as directed by the probation officer.

6.      The defendant shall attend, successfully complete, and pay for an approved cognitive-
        behavioral based program as directed by the probation officer.

7.      The defendant shall attend, successfully complete, and pay for any mental health diagnostic
        evaluations and treatment or counseling programs as directed by the probation officer.

8.      The defendant shall provide the probation officer with access to any requested financial
        information.

9.      The defendant shall attend, successfully complete, and pay for a gambling addictions
        program, as directed by the probation officer.

10.     It is recommended that the defendant complete his GED while incarcerated or during his
        term of supervised release, or in the alternative, complete an approved vocational
        rehabilitation program as directed by the probation officer.

11.     The defendant shall report to the U.S. Probation Office for the District of Nebraska between
        the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha, Nebraska,
        (402) 661-7555, within seventy-two (72) hours of release from confinement, and, thereafter,
        as directed by the probation officer.
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                             CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                    Total Fine                  Total Restitution
             $200.00



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:

        interest requirement is waived.



                                             FINE

        No fine imposed.

                                          RESTITUTION

        No restitution was ordered.
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                                 SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $200.00 immediately. If not paid,
the defendant shall pay 25% of his prison earnings or other funds which become available to him
toward payment of the special assessment. This amount shall be deducted from the defendant’s
prison earnings or other funds available to defendant during his incarceration. Any remaining
unpaid balance of the special assessment shall be paid within fifteen (15) days of defendant’s
release.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated
to pay said sum immediately if he or she has the capacity to do so. The United States of America
may institute civil collection proceedings at any time to satisfy all or any portion of the criminal
monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program,
the defendant shall pay 50% of the available inmate institutional funds per quarter towards the
criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first payment shall
commence 30 days following the defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full; and (c)the defendant shall be responsible for providing
proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.
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CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
